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12
                          UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
      SHIPITO, LLC,                              No. 2:17-cv-08961-SJO-AGR
15
16                          Plaintiff,
                                                PLAINTIFF’S OPPOSITION TO EX
17        vs.                                   PARTE APPLICATION TO
18                                              CONTINUE THE MOTION CUTOFF
   JASON LUONG,                                 DATE
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   PLANET EXPRESS SHIPPING,
20 LLC, and DOES 1 through 10                   Judge: Hon. S. James Otero
                                                Hearing Date: None requested
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                   Defendants.                  Trial Date: January 15, 2019
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                   _________________________________________________________________
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 1          Plaintiff Shipito, LLC (“Plaintiff”) opposes Defendants’ Ex Parte Application
 2    to continue the current motion cutoff date. Plaintiff and its counsel typically
 3    accommodate and join reasonable requests for extension as they understand that
 4    litigation and life are unpredictable, and that mistakes happen. However,
 5    Defendants’ present request is not a result of such circumstances. Defendants have
 6    been aware of the requirements of the Federal Rules of Civil Procedure, the Local
 7    Rules, this Court’s Standing Order, and the Scheduling Order for many months and
 8    have failed to diligently comply with those rules necessitating their ex parte
 9    application to modify the scheduling order. “[E]mergency applications are
10    disfavored and only granted when the moving party meets certain conditions.
11    Among other things, the moving party must show that it’s ‘without fault in creating
12    the crisis that requires ex parte relief, or that the crisis occurred as a result of
13    excusable neglect.’” ATEN Int’l Co. v. Uniclass Tech., No. 15-4424, at *1-2 (C.D.
14    Cal. Nov. 15, 2016) (citing Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F.
15    Supp. 488, 491–92 (C.D. Cal. 1995). Defendants’ crisis was created through their
16    own actions and their request for relief should be denied.
17          On January 12, 2018, the Court issued its Standing Order requiring “[a]ll law
18    and motion matters . . . must be set for hearing (not filing) by the motion hearing
19    cut-off date.” (Dkt. 37 at Section 23(b).) The Standing Order also requires noticed
20    motions to be served at least 35 days before the hearing date in cases where the
21    parties have entered a stipulated protective order, such as this case. (Id. at Section
22    31(c); Dkt.53.) On March 12, 2018, the Court held a mandatory scheduling
23    conference. (Dkt. 47.) Defendants’ counsel did not attend. (Id.) In that conference,
24    the Court set the Motion Cutoff for November 13, 2018 at 10:00 a.m. (Id.) This made
25    October 9, 2018 the deadline to file a noticed motion. Defendants have known of
26    this deadline for seven months but inexplicably waited until after the deadline to file
27    a motion had passed before submitting their ex parte application to modify the
28    scheduling order.

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 1          Defendants’ requested relief is necessitated by their own, minimal
 2    involvement in the case and disregard for the governing rules. On March 23, 2018,
 3    Defendants submitted a lone interrogatory asking Plaintiff to identify the trade
 4    secrets it believed to have been misappropriated. Plaintiff timely responded to that
 5    request. Defendants were unsatisfied with the response and requested two discovery
 6    conferences with the magistrate judge. Plaintiff provided multiple supplemental
 7    responses to the single interrogatory and produced source code, its customer list, its
 8    database schema, an operational flow chart, and over 100 pages of carrier
 9    agreements in support of its interrogatory response. Plaintiff’s Third Supplemental
10    Response to Defendants’ Interrogatory No. 1 was produced on August 24, 2018.1 In
11    addition, Plaintiff timely provided their initial disclosures on November 22, 2017.
12          Despite having Plaintiff’s initial disclosures and a detailed identification of
13    the trade secrets at issue, Defendants did not make another discovery request until
14    September 16, 2018, almost six months after its first interrogatory.2 Federal Rules
15    of Civil Procedure 33, 34, and 36 provide parties 30 days to respond to written
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       A subsequent supplemental response was provided on September 27, 2018 that
      included minor revisions but left the substance of the response unchanged.
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       Defendants’ response was received on September 16, 2018 at 1:01 AM (MDT) or
      12:01 AM (PDT) (see below):
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 1    discovery requests, making Plaintiff’s response due on October 16, 2018—one day
 2    after the discovery cut-off. (Dkt. 47 at 1.) This Court’s Standing Order requires all
 3    written discovery to be “served sufficiently in advance of the discovery cut-off to
 4    enable the discovering party to challenge (via motion) deficient responses.” (Dkt. 37
 5    at Section 22(c).) Further, Defendants are conducting their only deposition
 6    tomorrow—the discovery cutoff—after providing notice less than two weeks ago.
 7          Defendants have presented no compelling reason for their untimely discovery
 8    requests. Many of the requests could have been made months ago based on the
 9    information in Plaintiff’s Amended Complaint and Initial Disclosures. Plaintiff’s
10    numerous supplemental responses to Defendants’ Interrogatory No. 1 also provided
11    basis for the rest of Defendants’ discovery requests well before the end of discovery.
12    Still, Defendants waited until after the deadline had passed and just two business
13    days before the close of discovery to make their request. To receive ex parte relief,
14    “[t]he moving party must also show that it used the entire discovery period
15    efficiently and could not have, with due diligence, sought to obtain the discovery
16    earlier in the discovery period.” Mission Power, 883 F. Supp. at 493. As Judge
17    Rymer warned, “[e]x parte applications are not intended to save the day for parties
18    who failed to present requests when they should have . . .” In re Intermagnetics
19    America, Inc., 101 B.R. 191 (C.D. Cal. 1989).
20          Defendants’ attention and responsiveness to Plaintiff’s discovery requests
21    have similarly been lacking. In some instances, Defendants only produced
22    responsive documents or information after Plaintiffs provided incontrovertible
23    evidence that such documents existed and had been withheld. Plaintiff also just
24    learned during their taking of Defendants’ depositions that Defendants have
25    attempted to hide their misappropriation of Plaintiff’s trade secret customer list by
26    deleting text communications between Defendants and Plaintiff’s customers. This
27    raises serious concerns as to what other material evidence Defendants have spoliated
28    or withheld.

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 1          The Federal Rules of Civil Procedure, the Local Rules, the Standing Order,
 2    and the Scheduling Order provide deadlines to help secure the just and speedy
 3    determination of this action. For months, Defendants have known of these rules and
 4    done little to abide by them or prepare to timely file a noticed motion. Now that
 5    certain deadlines have passed, are passing tomorrow, or will pass in the near future,
 6    Defendants have requested judicial relief from the circumstances caused by their
 7    own inaction. This request should be denied. See Mission Power, 883 F. Supp. at
 8    492 (denying ex parte application when moving party had not established that it was
 9    without fault in creating the crisis circumstances.)
10
11    DATE: October 14, 2018
12                                            PIA ANDERSON MOSS HOYT
13
14                                            /s/ William B. Chadwick
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 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on this 14th day of October, 2018, a true and correct copy
 3    of the foregoing SHIPITO           LLC’S OPPOSITION TO                EX     PARTE
 4    APPLICATION TO CONTINUE THE MOTION CUTOFF DATE was filed
 5    with the clerk of the court and served via email to opposing counsel through the
 6    Court’s CM/ECF service.
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 8
                                                    /s/ William B. Chadwick
 9                                                  William B. Chadwick
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